           Case 2:18-cv-00748-KJM-CKD Document 25 Filed 08/07/18 Page 1 of 4



 1   McGREGOR W. SCOTT
     United States Attorney
 2   KEVIN C. KHASIGIAN
     Assistant U. S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

 5   Attorneys for the United States

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:18−CV−00748−KJM−CKD
12                 Plaintiff,
13          v.                                          STIPULATION TO STAY FURTHER
                                                        PROCEEDINGS AND ORDER
14   REAL PROPERTY LOCATED 6480
     MARYSVILLE ROAD, BROWNS
15   VALLEY, CALIFORNIA, YUBA
     COUNTY, APN: 044-270-024-000,
16   INCLUDING ALL APPURTENANCES
     AND IMPROVEMENTS THERETO,
17
     REAL PROPERTY LOCATED 10357
18   BECKLEY WAY, ELK GROVE,
     CALIFORNIA, SACRAMENTO
19   COUNTY, APN: 132-1580-060-0000,
     INCLUDING ALL APPURTENANCES
20   AND IMPROVEMENTS THERETO, and
21   REAL PROPERTY LOCATED 474
     LAURELLEN ROAD, MARYSVILLE,
22   CALIFORNIA, YUBA COUNTY, APN:
     018-280-016, INCLUDING ALL
23   APPURTENANCES AND
     IMPROVEMENTS THERETO,
24
                   Defendants.
25

26          The United States and Claimants Dong Mei Xue, Zhong Yan Yang, Gary Abrams, as Trustee of
27 the Gary Abrams Living Trust, and Zinc Financial, Inc. hereby stipulate that a stay is necessary in the

28
                                                        1                   Stipulation to Stay Further Proceedings and Order
              Case 2:18-cv-00748-KJM-CKD Document 25 Filed 08/07/18 Page 2 of 4



 1 above-entitled action and request that the Court enter an order staying all further proceedings until the

 2 resolution of the related criminal cases, United States v. Leonard Yang, et al., Case 2:16-CR-00189-KJM

 3 and United States v. Xiu Ping Li, et al., Case No. 2:17-CR-00136-KJM, and ongoing criminal

 4 investigation into marijuana grows at the defendant properties.

 5             1.       This is a forfeiture in rem action against three properties pursuant to 21 U.S.C. § 881(a)(7)

 6 because they allegedly were used and intended to be used to commit or facilitate violations of federal

 7 drug laws:

 8
                        a.      Real Property located at 6480 Marysville Road, Browns Valley, California, the
 9                      “Defendant Marysville Road.” Zhong Yan Yang has filed a claim asserting an ownership
                        interest in defendant Marysville Road. Gary Abrams, Trustee of the Gary Abrams Living
10
                        Trust, filed a claim asserting a lienholder interest in defendant Marysville Road.
11
                        b.      Real Property located at 10357 Beckley Way, Elk Grove, California, the
12                      “Defendant Beckley Way.” Dong Mei Xue has filed a claim asserting an ownership
                        interest in defendant Beckley Way. Socotra Fund, LLC filed a claim asserting a
13                      lienholder interest in defendant Beckley Way. This property was sold and the proceeds
14                      were used to satisfy Socotra Fund’s loan.1 The net proceeds from the sale shall be
                        substituted for the defendant Beckley Way.
15
                        c.      Real Property located at 474 Laurellen Road, Marysville, California, the
16                      “Defendant Laurellen Road”. Only Zinc Financial, Inc., a lienholder, has asserted an
                        interest in defendant Laurellen Road. A clerk’s default has been entered against the owner
17                      of record, Yifeng Ren. The defendant Laurellen Road is currently in default and the loan
18                      continues to accrue penalties and interest.
               3.       The stay is requested pursuant to 18 U.S.C. §§ 981(g)(1), 981(g)(2), and 21 U.S.C. §
19
     881(i). The United States contends that the defendant properties were used and intended to be used to
20
     commit or facilitate violations of federal drug laws in violation of 21 U.S.C. §§ 841 et seq. Claimants
21
     deny these allegations.
22
               4.       To date, several individuals have been charged with federal crimes related to marijuana
23
     manufacturing and distribution in two related cases, United States v. Leonard Yang, et al., Case 2:16-CR-
24
     00189-KJM and United States v. Xiu Ping Li, et al., Case No. 2:17-CR-00136-KJM. It is the United
25
     States’ position that the statute of limitations has not expired on potential criminal charges relating to the
26
     drug trafficking involving the defendant properties. Nevertheless, the United States intends to depose
27

28   1
         Accordingly, Socotra Fund, LLC no longer has an interest in Defendant Beckley Way.
                                                         2                   Stipulation to Stay Further Proceedings and Order
           Case 2:18-cv-00748-KJM-CKD Document 25 Filed 08/07/18 Page 3 of 4



 1 claimants (and others) regarding their ownership of the defendant properties, as well as their knowledge

 2 and participation in large scale marijuana cultivation, including the marijuana grow at the defendant

 3 properties, as well as the circumstances behind the purchase of the properties. If discovery proceeds at

 4 this time, claimants will be placed in the difficult position of either invoking their Fifth Amendment

 5 rights against self-incrimination and losing the ability to pursue their claims to the defendant properties,

 6 or waiving their Fifth Amendment rights and submitting to a deposition and potentially incriminating

 7 themselves. If they invoke their Fifth Amendment rights, the United States will be deprived of the ability

 8 to explore the factual basis for the claims they filed with this court.

 9          5.      In addition, claimants intend to depose, among others, the agents involved with this

10 investigation, including but not limited to, the agents with the Drug Enforcement Administration

11 (“DEA”). Allowing depositions of the law enforcement officers at this time would adversely impact the

12 federal prosecution and ongoing investigation.

13          6.      The parties recognize that proceeding with these actions at this time has potential adverse

14 effects on the investigation of the underlying criminal conduct and/or upon the claimant’s ability to assert

15 any defenses to forfeiture. For these reasons, the parties jointly request that these matters be stayed until

16 the conclusion of the related criminal cases. At that time the parties will advise the court of the status of

17 the criminal investigation, if any, and will advise the court whether a further stay is necessary.

18          7.      If any of the defendant properties go into default, the parties reserve the right to seek all

19 avenues of redress to preserve the real properties, including filing a motion for interlocutory sale or

20 seeking a receiver appointment to collect rents and maintain the properties.

21 Dated: 7/26/2018                                        McGREGOR W. SCOTT
                                                           United States Attorney
22
                                                   By:     /s/ Kevin C. Khasigian
23
                                                           KEVIN C. KHASIGIAN
24                                                         Assistant U.S. Attorney

25
     Dated: 7/27/18                                         /s/ J. Patrick McCarthy
26                                                         J. PATRICK MCCARTHY
                                                           Attorney for Claimant Dong Mei Xue
27                                                         (Authorized by email)

28
                                                           3                    Stipulation to Stay Further Proceedings and Order
           Case 2:18-cv-00748-KJM-CKD Document 25 Filed 08/07/18 Page 4 of 4



 1 Dated: 7/31/18                                          /s/ Steven K. Vote
                                                          STEVEN K. VOTE
 2                                                        Attorney for Claimant Zinc Financial
                                                          (Signature retained by attorney)
 3

 4 Dated: 7/27/18                                          /s/ Edward T. Weber
                                                          EDWARD T. WEBER
 5                                                        Attorney for Claimant Gary Abrams,
                                                          Trustee of the Gary Abrams Living Trust
 6                                                        (Signature retained by attorney)
 7

 8 Dated: 7/31/18                                          /s/ Ernest Chen
                                                          ERNEST CHEN
 9                                                        Attorney for Claimant Zhong Yan Yang
                                                          (Authorized by email)
10

11

12                                                   ORDER

13          For the reasons set forth above, this matter is stayed under 18 U.S.C. §§ 981(g)(1), 981(g)(2) and

14 21 U.S.C. § 881(i) until the resolution of companion criminal cases. The parties shall file a joint status

15 report within 30 days of the conclusion of the parallel criminal cases, or as the court deems appropriate.

16

17          IT IS SO ORDERED.

18 DATED: August 6. 2018.

19
                                                       UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
                                                         4                    Stipulation to Stay Further Proceedings and Order
